958 F.2d 368
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dana Andre RICHARDSON, Plaintiff-Appellant,v.Edward MCDANIELS, Doctor, Defendant-Appellee.
    No. 91-6350.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 2, 1992.Decided March 16, 1992.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Norman P. Ramsey, District Judge.  (CA-90-3152-R)
      Dana Andre Richardson, appellant pro se.
      D.Md.
      AFFIRMED.
      Before SPROUSE and WILKINSON, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Dana Andre Richardson appeals from the district court's order dismissing his civil complaint as frivolous pursuant to 28 U.S.C. § 1915(d) (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.*  Accordingly, we affirm on the reasoning of the district court.   Richardson v. McDaniels, No. CA-90-3152-R (D.Md. Jan. 8, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         Although there is a question concerning whether the notice of appeal was timely filed, construing Fed.R.Civ.P. 58 to prevent the forfeiture of an appeal, we find that the district court's order did not comply with the separate document requirement of Rule 58 and that, therefore, the appeal is not time barred.   See Caperton v. Beatrice Pocahontas Coal Co., 585 F.2d 683, 689 (4th Cir.1978)
      
    
    